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                 EXHIBIT 17
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ROCKET Mortgage

1050 W<.1odward A~.
Detroit, Ml 48226

May 9, 2022


Dann Law
Attn: l<aren Ortiz
15000 .Madison Avenue
Lakewood, OH 44107


Re:     Shameela Rome
        loan no.
        Property Address: 1309 Barrier Isl.and or,, Aubrey, TX 76227


Dear Ms. Ortii: ·

Rocket Mortgage Is In receipt of your recent correspondence regardlng Ms. Rome's l.oan. Thank you for giving the      us
opportunlW to address your concerns. We have reviewed our records and have confirmed that Ms. Rome's current
monthly Mortgage Insurance Premium (MIPJ is Incorrect as Indicated In your correspondence.

Upon our review of Ms. Rome's account, we have determined that her MIP was incorrectly based .on an Unpaid Principal
Balance.{UPB} of $339,101, which was the amount of her UPS without the upfront mortgage Insurance preml\Jm {U FMIP)
of $5,934 and the purchase price for her property in the amount of $351,400 rather than the appraised value. Based on
the Incorrect ftgures, her re.su.ltlng loan to value ratio at origination was 96.50 percent and her MIP for the loan was
calculated at 85 Basis Points (bps) In accordance with the Mortgagee Letter 2017•07 issued by the U.S. Department of
Housing and Urban Developli1ent (HUD} for Ms. Rome's loan program, the Federal Housing Administration (FHA).

We sincerely apologize for any confusion or frustration Ms. Rome may have experienced regarding the error in the
calculatfon of her: MIP. Please be advised, we are currently In the process of updating Ms. Rome's MtP with FHA to
accurately be based on her total UPS w/ UFMfP of $345,035 and Appraised value of $378,000. Based on the corrected
figures, her resulting loan to value ratio at origination was 91.28 percent, her MIP for the loan has been recalculated at 80
8.asls Points (bps) and the premium will be terminated 11 years from her dosing date, which wlll be once her March 1,
2028 payment has ~een satisfied. Once the updates have been completed with FHA, the MIP reflected on Ms. Rome's
Bltling Statements wtll be adjusted accordingly and she will be issued a refu.nd of tha Mil> overoollectlon. We have endosed
a copy of Ms. Rome's orlgtnal MIP amortization schedt.tle, corrected MIP amortlzatlon schedule and a schedule which
verlfles the difference between the orlglnal and corrected premium amounts. Please nota, the amount of the refund Is
dependent on tha date the updates are completed with FHA and will be one of the following amounts based.on the
updates being completed by July 6, 2022;

           Good thr~g-~ 2/_6J..22
                                              ·-
                                         $ 824.28
           Good through 7/6/2.2          $   837.00

Lastly, we acknowledge receipt of your reqllest for reimbursement of the legtil fees and costs Incurred by Ms. Rome and
would like to advise that we are unable to obtain the amount by phone, and a determination on your request cannot be ·
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ROCKET Mortgage

 lOSO Woodward Ave,
 Detroit, Ml 43226

made untlt an itemized statement ls received. Once obtained, please forward a final accounting of the amount you are
seeking for addltional review.

We trust our communication has addressed any concerns you have. If you have any additional questions or concerns
regarding your account, please contact our Account Resolution team and speak with one of our specialists. Our Account
Resolution team Is available to assist you Monday through Friday from 8:30 a.rn. to 9:00 p.m. ET, and Saturday from 9:00
a.m. to 4:00 p.m. ET and can be reached at (800) 508~0944 or via email at AccountResolutlon@rocketmortgage.com.

Respectfully,

Isl Sashae Harris

Sashae Harris
Sr. Resolution Correspondent
Rocket Mortgage
(313) 782-7698
SashaeHarris@rocketmortgage.com




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